     Case 5:04-cr-40141-JTM     Document 291       Filed 10/17/05   Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )       CRIMINAL ACTION
                                               )
v.                                             )       No.    04-40141-01, 02
                                               )
ARLAN DEAN KAUFMAN and                         )
LINDA JOYCE KAUFMAN,                           )
                                               )
                         Defendants.           )
                                               )

                                MEMORANDUM AND ORDER
        This case comes before the court on a Motion to Intervene and to
Oppose Exclusion of Sketch Artists filed by Media General Operations,
Inc., d/b/a KWCH-TV CHANNEL 12, a Wichita television station.                      (Doc.
275.)     The court corrected several erroneous factual assertions in
Channel 12's motion by written order.                  (Doc. 278.)       The court also
established a schedule for briefing and offer of proof on the issue
of sketch artists.        Id.     The alleged victims in this matter filed a
response (Doc. 283), and Channel 12 filed what it apparently perceived
as an offer of proof; however, it only offered proof of irrelevant
matters.      The court also conducted a hearing on October 14, 2005.
Channel 12's motion is GRANTED, subject to conditions, for reasons set
forth herein.
I.    FACTS
        Defendants are charged in a thirty-four count second superceding
indictment with, among other things, Medicare fraud, civil rights
violations, and subjecting victims to involuntary servitude, all in
violation of various provisions of Title 18 of the United States Code.
  Case 5:04-cr-40141-JTM     Document 291    Filed 10/17/05    Page 2 of 10




(Doc. 121.)      The case has garnered more than trivial interest in the
local media.     Unfortunately, this case involves allegations of sexual
misconduct by defendants toward their mentally ill patients.                   Some of
this conduct is recorded in graphic detail on video tapes.                    In light
of the congressional mandate to protect the privacy and dignity of
victims under the Crime Victims’ Rights Act, 18 U.S.C. § 3771, the
court has already directed that these videos be displayed on a screen
that is visible to the jury, the court, and the parties, but not to
people seated in the gallery.          No objection has been made to this
procedure by the parties or by the media.                 Other than that, and
despite the graphic detail which already has come out and which is
certain to come out through further witness testimony, the court has
not otherwise closed the proceedings to the public.                 Both the media
and the general public have the opportunity to attend the proceedings
and describe what they witness to anyone who will listen.
      When Channel 12 filed its motion seeking a ruling on whether
sketch artists would be allowed in the courtroom (Doc. 275), the court
questioned the parties, none of whom desired to have a sketch artist
in the courtroom.       On October 14, 2005, in open court, the court
questioned the members of the jury regarding their feelings about
being drawn by a sketch artist. No juror indicated any desire to have
his   or   her    likeness   drawn   and     displayed    on    television.         In
anticipation of the court’s inquiry to the jury, Channel 12 filed a
document in which it stipulated that if sketch artists were permitted
to conduct their operations in the courtroom, they would not sketch
victims or jurors. (Doc. 287.) At the end of this inquiry, the court
offered Channel 12 the opportunity to offer any additional evidence

                                       -2-
  Case 5:04-cr-40141-JTM     Document 291      Filed 10/17/05   Page 3 of 10




or argument that it wished.        Channel 12 briefly reiterated its prior
arguments.
II.     ANALYSIS
        The general principle that the public and the press have a First
Amendment right of access to criminal proceedings is well established.
See United States v. McVeigh, 119 F.3d 806, 811 (10th Cir. 1997)
(citing Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 102 S.
Ct. 2613, 73 L. Ed. 2d 248 (1982); Richmond Newspapers, Inc. v.
Virginia, 448 U.S. 555, 558-81, 100 S. Ct. 2814, 2818-30, 65 L. Ed.
2d 973 (1980) (plurality opinion)).              Nevertheless, “[a]lthough the
right of access to criminal trials is of constitutional stature, it
is not absolute.”        Globe Newspaper, 457 U.S. at 606, 102 S. Ct. at
2620.      Any     restrictions   must   be    “necessitated      by   a   compelling
governmental interest, and . . . narrowly tailored to serve that
interest.”       Id. at 607, 102 S. Ct. at 2620.
        Here, the trial has been completely open to the press and the
public with the exception that sexually-graphic videos of mentally ill
victims are shown in a manner so that they are not viewable by
individuals in the gallery. This restriction was necessary to protect
the victims’ “right to be treated with fairness and with respect for
the victim[s’] dignity and privacy.”            18 U.S.C. § 3771(a)(8).         Other
than this restriction, no limitation has been placed on the public’s
right to be present and hear the extensive, graphic testimony about
the content of those videos.         Accordingly, the threshold issue here
is the much narrower question of if, and to what extent, the First
Amendment grants sketch artists the right to attend and sketch the
proceedings in a criminal trial.

                                         -3-
  Case 5:04-cr-40141-JTM    Document 291    Filed 10/17/05   Page 4 of 10




     As an initial matter, “representatives of the press and general
public must be given an opportunity to be heard on the question of
their exclusion.”    Globe Newspaper, 457 U.S. at 609 n.25, 102 S. Ct.
at 2621 (internal quotations omitted).          For the reasons set forth in
its previous order (Doc. 278), the court was unaware of Channel 12's
interest until it filed its Motion to Intervene.             Therein, Channel 12
requested a hearing.       Since a hearing would necessarily interrupt the
underlying criminal trial, the court directed Channel 12 to file an
offer of proof regarding any matters it intended to prove at the
hearing.   (Doc. 278.)      Channel 12 filed an offer of proof in the form
of an affidavit from one of its managers. (Doc. 281.) Unfortunately,
that offer of proof only encompassed events related to communications
between Channel 12 and the United States Attorney’s Public Affairs
Officer as it pertained to having sketch artists in the courtroom.
Channel 12 offered no explanation regarding what its artist intended
to sketch, which raised the court’s concern that Channel 12 intended
to sketch and show likenesses of protected witnesses and jurors.
Nevertheless, the court still afforded Channel 12 an opportunity to
be heard in open court on October 12, 2005.             Hence, the court finds
that Channel 12 has received its notice and opportunity to be heard.
There is no purpose in conducting further hearings on this matter and
Channel 12 has not requested one.
     The court finds that sketch artists have no First Amendment right
to attend and sketch the proceedings in a criminal trial.                   This is
because the First Amendment interests vindicated by their activities
are de minimis.     In finding that the press holds a general First
Amendment right of access to criminal trials, the Supreme Court

                                      -4-
  Case 5:04-cr-40141-JTM   Document 291    Filed 10/17/05   Page 5 of 10




focused on the important role of the media in keeping the public
informed regarding the proper and effective functioning of their
government, particularly in the area of criminal judicial proceedings.
Globe Newspaper, 457 U.S. at 604-06, 102 S. Ct. at 2618-20. There can
be no doubt that allowing the press to report on the trial is critical
to keeping the public informed.           Most citizens lack the time and
opportunity to attend a criminal trial, particularly one of this
extended duration.    Their ability to stay abreast of the proceedings
through newspapers, television, and other media outlets is thus
essential to give practical meaning to the First Amendment right of
access.
     However, unlike the written or spoken word, sketches of courtroom
proceedings do little, if anything, to inform the public about the
course of the trial.       It conveys nothing about the allegations, the
testimony, or other non-testimonial evidence received in the case.
Likewise, the sketches give no sense of whether the case is being
handled in a fair, legitimate manner, or whether there is some problem
with corruption, misconduct, or other irregularity that might indicate
a failure in our system of justice.          In fact, the one device that
would provide visual images that could fulfill some of these important
functions is a video camera.      Yet, the Supreme Court has made clear
that there is no constitutional right to have video cameras in the
courtroom.   Estes v. Texas, 381 U.S. 532, 85 S. Ct. 1628, 14 L. Ed.
2d 543 (1965).1      In fact, Federal Rule of Criminal Procedure 53


     1
       While Estes was a fractured opinion regarding whether a
televised criminal trial was a per se violation of the constitution,
the decision was essentially unanimous that there was no First
Amendment right to televise a criminal trial. See also Estes, 381

                                     -5-
  Case 5:04-cr-40141-JTM   Document 291     Filed 10/17/05   Page 6 of 10




expressly     forbids      photographing      and     broadcasting          criminal
proceedings.2    See also United States v. Kerley, 753 F.2d 617, 622
(7th Cir. 1985) (Rule 53 does not violate the First Amendment);3
United States v. Hastings, 695 F.2d 1278, 1283-84 (11th Cir. 1983)
(same).     Likewise, still cameras lack a constitutionally protected
right of access to the courtroom.          Indeed, the court can add little
to the Eighth Circuit’s recent summary of the law in this area:
            While Richmond mandates that criminal trials be
            open to the public, no court has ruled that
            videotaping or cameras are required to satisfy
            this right of access.     Instead, courts have
            universally   found    that   restrictions   on
            videotaping and cameras do not implicate the
            First Amendment guarantee of public access. See
            Whiteland Woods v. Township of West Whiteland,


U.S. at 588, 85 S. Ct. at 1662 (Harlan, J., concurring) (“No
constitutional provision guarantees a right to televise trials.”)
     2
         The text of the rule reads as follows:
            Except as otherwise provided by a statute or
            these rules, the court must not permit the taking
            of photographs in the courtroom during judicial
            proceedings or the broadcasting of judicial
            proceedings from the courtroom.
Fed. R. Crim. P. 53.

     3
       In Kerley, the Seventh Circuit provided a characterization of
the case that is equally applicable here:
            It is important to note that the issue is not
            between open and closed proceedings. Rather, we
            are only concerned with whether it is reasonable
            to conclude that the marginal gains from
            videotaping and broadcasting an already public
            trial, which members of the public and media will
            be free to attend and to report on, are
            outweighed by the risks and uncertainties the
            procedure, in the minds of some, entails.
Kerley, 753 F.2d at 621 (emphasis in original)


                                     -6-
  Case 5:04-cr-40141-JTM   Document 291    Filed 10/17/05   Page 7 of 10




           193 F.3d 177, 184 (3rd Cir. 1999) (holding that
           public has no right to videotape Planning
           Commission meetings that were required to be
           public); United States v. Kerley, 753 F.2d 617,
           621 (7th Cir. 1985) (holding that the public has
           no right to videotape trial even when the
           defendant   wishes    it   to   be   videotaped);
           Westmoreland v. Columbia Broadcasting System,
           Inc., 752 F.2d 16, 23 (2d Cir. 1984) ("There is
           a long leap, however, between a public right
           under the First Amendment to attend trials and a
           public right under the First Amendment to see a
           given trial televised."), cert. denied, 472 U.S.
           1017, 105 S. Ct. 3478, 87 L. Ed. 2d 614 (1985);
           United States v. Hastings, 695 F.2d 1278, 1284
           (11th Cir.), cert. denied, 461 U.S. 931, 103 S.
           Ct. 2094, 77 L. Ed. 2d 303 (1983) (holding that
           the press had no right to videotape criminal
           trials); cf. Nixon v. Warner Communications Inc.,
           435 U.S. 589, 609, 98 S. Ct. 1306, 55 L. Ed. 2d
           570 (1978) (holding that no First Amendment right
           existed to publish or copy exhibits displayed in
           court); United States v. McDougal, 103 F.3d 651,
           659 (8th Cir. 1996), cert. denied, 522 U.S. 809,
           118 S. Ct. 49, 139 L. Ed. 2d 15 (1997) (holding
           that First Amendment right of access does not
           extend to videotaped deposition testimony of
           then-President Clinton). As the Second Circuit
           has observed, "the First Amendment right of
           access is limited to physical presence at
           trials." United States v. Yonkers Bd. of Educ.,
           747 F.2d 111, 113 (2d Cir. 1984).
Rice v. Kempker, 374 F.3d 675, 678-79 (8th Cir. 2004).                Given that
cameras and recording devices would tend to provide the public with
a far better picture (no pun intended) of what transpired in the
courtroom, and yet the Constitution does not mandate their admission,
there can be little doubt that the First Amendment does not give
sketch artists the right to sketch criminal trials.
     The court now considers the restrictions proposed by Channel 12:
that it will not sketch and televise likenesses of victims or jurors.
Even in the absence of Channel 12's proposal, the court finds that 18
U.S.C. § 3771(a)(8) requires that sketch artists’ activities in the


                                     -7-
  Case 5:04-cr-40141-JTM   Document 291     Filed 10/17/05     Page 8 of 10




courtroom be restricted under the circumstances of this case.                   First,
there is a compelling government interest in protecting the dignity,
as well as the physical and psychological well-being, of mentally-ill
alleged crime victims who have been potentially exploited through
extensive video recording of themselves engaged in bizarre sexual
behavior under the tutelage of their social worker.                        See Globe
Newspaper, 457 U.S. at 607-08, 102 S. Ct. at 2620-21 (finding that
“safeguarding the physical and psychological well-being of a minor”
in the context of a sex-crimes case was a compelling interest).
     Next, the court finds that Channel 12's proposal is a narrowly
tailored remedy that will protect this interest.               Dr. Walt Menninger,
whose name is well known to anyone having the remotest knowledge of
psychiatry and mental illness, testified that schizophrenia is the
“cancer of mental illness.”         Another highly respected witness, Dr.
Bonnie Buchele, testified that many schizophrenics are fearful of
everything. Most, if not all, of the witnesses entitled to protection
under 18 U.S.C. § 3771 suffer from forms of schizophrenia.                 The court
has already viewed the testimony of two mentally ill witness and
observed the distress that these individuals exhibited trying to
concentrate on the questions and formulate answers.               If that distress
was compounded with concerns that the witness’ picture was going to
be shown on television as one of those “victims” who appeared in the
graphic   videos,    the   victim    undoubtedly         would    not    only       face
considerable   additional    distress       and   loss    of    dignity,      but    the
individual might not even be able to testify, thereby damaging the
truth-seeking function of a criminal trial.              See Estes, 381 U.S. at
544-50, 85 S. Ct. at 1634-36.

                                      -8-
  Case 5:04-cr-40141-JTM   Document 291      Filed 10/17/05   Page 9 of 10




      In addition, there are presently before the court three motions
to quash subpoenas of mentally-ill witnesses based on, among other
things, their inability to withstand the stress of testifying in open
court.   These motions contain statements and opinions from mental
health professionals indicating that the mental health of these
individuals may degenerate considerably if they are forced to testify.
The court will have to give a great deal of consideration to balancing
the health and welfare interests of these potential witnesses against
the rights of the defendants who have subpoenaed them.                The calculus
would become even more difficult, and the potential harm to the
victim-witnesses even greater, should these individuals be forced to
face the additional stress of having a sketch artist working in the
courtroom during their testimony.         While the court has not yet ruled
on these motions to quash subpoenas, the court finds that, absent
Channel 12's proposed remedy, giving sketch artists unfettered leave
to sketch in the courtroom could make it more difficult for the court
to allow defendants to call these witnesses, thereby encroaching on
defendants’ Sixth Amendment compulsory process right.
      Aside from the victims, the jurors have also gone on the record
as being opposed to having their likenesses sketched.                 The court has
authority to proscribe sketching jurors.            See, e.g., KPNX Broad. Co.
v. Arizona, 459 U.S. 1302, 1307-08, 103 S. Ct. 584, 587, 74 L. Ed. 2d
498   (1982)   (Rehnquist,   Circuit    Justice)      (“I     think   that   in   all
probability the trial judge's order would be more defensible on
federal constitutional grounds if he had flatly banned courtroom
sketching of the jurors, and if he had extended the ban to those who
sketch for the print media as well as to those who sketch for

                                       -9-
 Case 5:04-cr-40141-JTM    Document 291    Filed 10/17/05   Page 10 of 10




television.”)
     In conclusion, the court finds:
     1. Channel 12 has no First Amendment right to have sketch artists
in the courtroom.
     2. Title 18 U.S.C. § 3771 proscribes all forms of identification
of the victims in this case, including, but not limited to, sketching
for purposes of television.
     3. Identification of jurors by sketching can be, and will be,
prohibited.
     4. Channel 12 will be permitted to have one sketch artist attend
the trial.    The artist shall not sketch jurors or victims.                Channel
12 must identify, through communication with counsel for the parties,
when a victim will appear as a witness.                 During each victim’s
appearance, no sketching materials of any kind will be visible in the
courtroom.
     5. This order applies only to Channel 12.                 No other sketch
artists will be permitted in the courthouse or in the courtroom for
the duration of the trial.
     6. This order applies only to this trial.                  If must not be
interpreted by Channel 12 or any other news provider as this court’s
general permission to allow sketch artists in the courtroom.
     IT IS SO ORDERED.
     Dated this     17th    day of October 2005, at Wichita, Kansas.


                                          s/   Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE



                                    -10-
